      Case 6:19-cr-00007-JRH-CLR Document 75 Filed 09/29/21 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                            STATESBORO DIVISION




UNITED STATES OF AMERICA

V.                                             CR619-OO7

ASHLEY LANIER POWELL



                ORDER ON MOTION FOR LEAVE OF ABSENCE


      Paul W. Calhoun, III having made application to the Court for a leave of

absence, and it being e\ddent from the application that the provisions of Local Rule 83.9

have been complied with, and no objections having been received;

      IT IS HEREBY ORDERED THAT Paul W.Calhoun, III be granted leave of

absence for the follo^^ing periods: September 27, 2021 through October 17, 2021.

      SO ORDERED,this the -^'/^av of September, 2021.


                                        J. RANDApiALL,CHIEF JUDGE
                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF GEORGIA
